           Case 2:09-cr-00206-GEB Document 33 Filed 05/20/10 Page 1 of 3


1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700

5    Attorney for Defendant
     DELMAR LAGRIMAS
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 09-206-GEB
                  Plaintiff,      )
13                                )      STIPULATION AND [PROPOSED]
             v.                   )      ORDER
14                                )
     DELMAR LAGRIMAS,             )      DATE: June 18, 2010
15   LEOBARDO OLAZABAL CARRANZA, )       TIME: 9:00 a.m.
                                  )      JUDGE: Hon. Garland E. Burrell Jr.
16                Defendants.     )
                                  )
17   ____________________________
18
        It is hereby stipulated and agreed to between the United States of
19
     America through DANIEL McCONKIE, Assistant U.S. Attorney, and
20
     defendants, DELMAR LAGRIMAS by and through his counsel, BENJAMIN
21
     GALLOWAY, Assistant Federal Defender, and LEOBARDO OLAZABAL CARRANZA by
22
     and through his counsel, GILBERT A. ROQUE, that the status conference
23
     set for Friday, May 21, 2010, be continued to Friday, June 18, 2010, at
24
     9:00 a.m..
25
        This continuance is being requested as the parties are working
26
     toward a resolution of this matter, but need additional time to
27
     complete that process.
28
           Case 2:09-cr-00206-GEB Document 33 Filed 05/20/10 Page 2 of 3


1       It is further stipulated that the time period from the date of this
2    stipulation, May 18, 2010, through and including the date of the new
3    status conference hearing, June 18, 2010, shall be excluded from
4    computation of time within which the trial of this matter must be
5    commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
6    (h)(7)(B)(iv)and Local Code T4 [reasonable time for defense counsel to
7    prepare].
8
9    DATED: May 18, 2010            Respectfully submitted,
10                                  DANIEL J. BRODERICK
                                    Federal Defender
11
                                    /s/ Benjamin Galloway
12                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
13                                  Attorney for Defendant
                                    DELMAR LAGRIMAS
14
                                    /s/ Benjamin Galloway for
15                                  GILBERT A. ROQUE
                                    Attorney for Defendant
16                                  LEOBARDO OLAZABAL CARRANZA
17
18
     DATED: May 18, 2010            BENJAMIN B. WAGNER
19                                  United States Attorney
20                                  /s/ Benjamin Galloway for
                                    DANIEL McCONKIE
21                                  Assistant U.S. Attorney
                                    Attorney for Plaintiff
22
23
24
25
26
27
28


                                            2
              Case 2:09-cr-00206-GEB Document 33 Filed 05/20/10 Page 3 of 3


1
                                       O R D E R
2
           IT IS SO ORDERED.    Time is excluded from today’s date through and
3
     including June 18, 2010, in the interests of justice pursuant to 18
4
     U.S.C. §3161(h)(7)(B)(iv) [reasonable time to prepare] and Local Code
5
     T4.
6
7    Dated:    May 19, 2010

8
9                                        GARLAND E. BURRELL, JR.
                                         United States District Judge
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               3
